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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 SAMUEL ELKINS,                                       )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )        No. 1:19-cv-00172-JRS-MJD
                                                      )
 ROGER JOHNSON,                                       )
                                                      )
                               Defendant.             )




                       MINUTE ENTRY FOR OCTOBER 16, 2019
                  TELEPHONIC STATUS & DISCOVERY CONFERENCE
                   HON. MARK J. DINSMORE, MAGISTRATE JUDGE


        The parties appeared by telephone for a Status and Discovery Conference. The parties

 discussed the status of and future plans for discovery.

        This matter is scheduled for a telephonic status conference on Tuesday, November 19,

 2019 at 11:30 a.m. (Eastern) to discuss case status, as well as the parties’ readiness for the

 upcoming settlement conference. Counsel shall attend the status conference by calling the

 designated telephone number, to be provided by the Court via email generated by the Court’s

 ECF system.



        Dated: 16 OCT 2019
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